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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-140 MCE
12
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           ORDER
14
     RAFAEL PAHUA MARTINEZ,                              DATE: August 3, 2017
15                                                       TIME: 10:00 a.m.
                                  Defendant.             COURT: Hon. Morrison C. England, Jr.
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17
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on August 3, 2017.
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            2.      By this stipulation, defendant now moves to vacate the status conference, to set a change
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     of plea for August 17, 2017, and to exclude time between August 3, 2017, and August 17, 2017, under
23
     Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes 150 pages of reports, 976 audio files, 204 pages of transcripts, 13,493 Google Earth
27
            files, and hundreds of pages of call logs.
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                    b)     Counsel for defendant needs additional time to review the discovery, conduct
      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1           investigation, interview potential witnesses, and discuss possible resolutions.

 2                  c)      Counsel for defendant believes that failure to grant the above-requested

 3           continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4           into account the exercise of due diligence.

 5                  d)      The government does not object to the continuance.

 6                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 7           case as requested outweigh the interest of the public and the defendant in a trial within the

 8           original date prescribed by the Speedy Trial Act.

 9                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10           et seq., within which trial must commence, the time period of August 3, 2017 to August 17,

11           2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

12           T4] because it results from a continuance granted by the Court at defendant’s request on the basis

13           of the Court’s finding that the ends of justice served by taking such action outweigh the best

14           interest of the public and the defendant in a speedy trial.

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        STIPULATION REGARDING EXCLUDABLE TIME              2
        PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

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 6
     Dated: August 1, 2017                                   PHILLIP A. TALBERT
 7                                                           United States Attorney
 8
                                                             /s/ AMANDA BECK
 9                                                           AMANDA BECK
                                                             Assistant United States Attorney
10
11
     Dated: August 1, 2017                                   /s/ MICHAEL M. ROONEY
12                                                           MICHAEL M. ROONEY
13                                                           Counsel for Defendant
                                                             RAFAEL PAHUA MARTINEZ
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15
16
17                                                   ORDER

18          IT IS SO ORDERED.

19 Dated: August 7, 2017
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      STIPULATION REGARDING EXCLUDABLE TIME              3
      PERIODS UNDER SPEEDY TRIAL ACT
